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                            UNITED STATES DISTRICT COURT
                                                                                     FILED
                            FOR THE DISTRICT OF COLUMBIA                                 10/5/2020
                                                                                Clerk, U.S. District & Bankruptcy
                                                                                Court for the District of Columbia
GEORGE A. TEACHERSON,                                 )
                                                      )
                       Plaintiff,                     )
                                                      )
       v.                                             )      Civil Action No. 20-2761 (UNA)
                                                      )
UNITED STATES, et al.,                                )
                                                      )
                       Defendants.                    )

                                    MEMORANDUM OPINION

       This matter is before the Court on consideration of plaintiff’s application to proceed in

forma pauperis and his pro se complaint.

       Plaintiff alleges that he “live[s] in the guaranteed Republic of the United States of

America.” Compl. ¶ 43 (footnotes omitted). He claims to have “retained Right to the Fruits of

[his] Labor and the power of retention of [his] Fundamental Substance.” Id. ¶ 48 (footnotes

omitted). Generally, plaintiff deems unconstitutional the imposition and collection of federal

income taxes. See, e.g., id. ¶¶ 88-92, 99, 109. Such an assertion is frivolous. See, e.g., Reese v.

IRS, 167 F. App’x 625, 626 (9th Cir. 2006) (affirming dismissal of action against IRS and IRS

employee “alleging that the imposition and collection of federal income tax . . . was unauthorized

and unconstitutional because, as an American citizen and a natural person, his wages are not

‘income’ subject to taxation”); Snyder v. United States, 172 F.3d 53 (7th Cir. 1998) (affirming

dismissal as frivolous of complaint alleging “that wages are not income, that wages were not

subject to taxation as income, and that the income tax is unconstitutional”); Denison v. Comm’r,

751 F.2d 241, 242 (8th Cir. 1984) (rejecting arguments that brickmason’s “wages were not

income” and “that the Internal Revenue Code is unconstitutional to the extent it imposes a tax on

income from services”); see also Crain v. Comm’r, 737 F.2d 1417, 1417 (5th Cir. 1984) (per
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curiam) (“We perceive no need to refute these arguments with somber reasoning and copious

citation of precedent; to do so might suggest that these arguments have some colorable merit.”).

       The Court will grant plaintiff’s application to proceed in forma pauperis and will dismiss

the complaint as frivolous. See 28 U.S.C. § 1915(e)(2)(B)(i). An Order consistent with this

Memorandum Opinion is issued separately.




                                                            ________________________
                                                            DABNEY L. FRIEDRICH
                                                            United States District Judge
October 5, 2020
